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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Case No. 22-cr-259-TNM
Vv. 18 U.S.C. § 231(a)G)
BERNARD JOSEPH SIRR,
Defendant.

STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
BERNARD JOSEPH SIRR, with the concurrence of his attorney, agree and stipulate to the below
factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties
stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

z On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.
os On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States
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Senate were meeting in the United States Capitol to certify the vote count of the Electoral College
of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of law enforcement, as others in the crowd
encouraged and assisted those acts. The riot resulted in substantial damage to the U.S. Capitol,

requiring the expenditure of more than $1.4 million dollars for repairs.

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7. Shortly thereafter, at approximately 2:20 p.m., members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the
United States Congress, including the joint session, were effectively suspended until shortly after
8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to
the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol
without any security screening or weapons check, Congressional proceedings could not resume
until after every unauthorized occupant had left the U.S. Capitol, and the building had been
confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building had
been secured. Vice President Pence remained in the United States Capitol from the time he was
evacuated from the Senate Chamber until the session resumed.

SIRR’s Participation in the January 6, 2021, Capitol Riot

8. On January 6, 2021, BERNARD JOSEPH SIRR watched speeches at the rally near
the ellipse and then walked to the Capitol. At approximately 2:45 p.m., SIRR approached the
Lower West Terrace tunnel where a large group of rioters had formed and began entering the
tunnel to push their way forward against law enforcement officers from the Metropolitan Police
Department and the United States Capitol Police guarding the Lower West Terrace tunnel of the
Capitol.

9. At approximately 3:08 p.m., SIRR entered the tunnel on the Lower West Terrace
and made his way toward the front of the police line. SIRR was directly behind the front line of
rioters who were engaged in an assault against police officers. SIRR was observed holding onto

and pushing the individual in front of him, while that individual, later identified as Patrick

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McCaughey, was pushing into the police line.'! At one point, SIRR placed his hand on a police
shield being used by law enforcement to defend themselves. At another point, the group of rioters
surrounding SIRR began chanting “heave! ho!” in unison as they moved back and forth together
against the team of police officers.

10. SIRR left the tunnel shortly thereafter, but stayed in the area and again attempted
to gain entry into the tunnel around 4:14 p.m. At that time, SIRR reappeared near the tunnel
doorway and pushed his way toward the front line of rioters who were engaged in a prolonged
assault against police officers. SIRR remained near the front line of rioters facing off against
police for approximately 11 minutes until he was ejected from the tunnel by law enforcement.

11. SIRR knewat the time he entered the Lower West Terrace tunnel to the U.S. Capitol
building that he did not have permission to enter the building.

Elements of the Offense

12. SIRR knowingly and voluntarily admits to all the elements of 18 U.S.C. §
231(a)(3). Specifically, SIRR admits that he attempted to or did obstruct, impede, or interfere with
a law enforcement officer engaged in the lawful performance of his official duties incident to and
during the commission of a civil disorder, and that the civil disorder obstructed, delayed, or
adversely affected commerce or the performance of a federally protected function.

Respectfully submitted,
MATTHEW M. GRAVES

United States Attorney
D.C. Bar No. 481052

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Stephen J. Rangourt
Assistant United States Attorney

 

! All available evidence indicates that SIRR is not acquainted with Patrick McCaughey.

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DEFENDANT’S ACKNOWLEDGMENT

I, Bernard Joseph Sirr, have read this Statement of the Offense and have discussed it with
my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my

own free will. No threats have been made to me nor am I ‘ the influence of anything that could
impede my ability to understand this S of the fully.

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Date: [FUL EZS a
Berard Joseph Sint

Defendant

 

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: LLL, [2% el
d Carry / Robert Driscoll

Attorney for Defendant

 

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